      Case 22-33553 Document 717 Filed in TXSB on 06/19/24 Page 1 of 11



                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE:                                           §
                                                 §          Case No. 22-33553 (CML)
ALEXANDER E. JONES                               §
                                                 §          (Chapter 7)
                                                 §
      DEBTOR.                                    §

                  NOTICE OF APPOINTMENT OF CHAPTER 7 TRUSTEE

       Pursuant to 11 U.S.C. §701, CHRISTOPHER R. MURRAY is appointed trustee in the

above styled case and is hereby designated to preside at the meeting of creditors held pursuant to 11

U.S.C. §341(a). Pursuant to the Federal Rules of Bankruptcy Procedure, Rule 2008, the trustee

will be deemed to have accepted this appointment unless it is rejected within seven (7) days of

receipt of this notice. If the trustee rejects this appointment, the trustee must notify the Court and the

United States Trustee. The bond for this case will be included under the trustee's existing blanket

bond. Unless creditors at the first meeting of creditors elect another trustee, the trustee appointed

herein shall serve as trustee without further appointment or qualification under the same bond.


Dated: June 14, 2024                                     KEVIN M. EPSTEIN
                                                         UNITED STATES TRUSTEE REGION 7

                                                         By:/s/ Jayson B. Ruff
                                                         Jayson B. Ruff
                                                         Trial Attorney
                                                         Michigan State Bar No. P69893
                                                         515 Rusk, Suite 3516
                                                         Houston, Texas 77002
                                                         Telephone: (713) 718-4662
                                                         Fax: (713) 718-4670
                                                         jayson.b.ruff@usdoj.gov
                     Case 22-33553 Document 717 Filed in TXSB on 06/19/24 Page 2 of 11
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-33553-cml
Alexander E. Jones                                                                                                     Chapter 7
Official Committee Of Unsecured Creditor
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                              Page 1 of 10
Date Rcvd: Jun 17, 2024                                               Form ID: pdf012                                                         Total Noticed: 176
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 19, 2024:
Recip ID                   Recipient Name and Address
db                         Alexander E. Jones, c/o 2525 McKinnon Street, Suite 425, Dallas, TX 75201
aty                    +   Anna Kordas, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-1000, UNITED STATES 10036-6730
aty                    +   Crowe & Dunlevy, 2525 McKinnon St, Suite 425, Dallas, TX 75201-1543
aty                    +   David Franklin Hill, IV, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-6730
aty                    +   Jonathan Day, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Leslie E. Liberman, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Paul Andrew Paterson, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    +   Reynal Law Firm, P.C., 917 Franklin St., Suite 600, Houston, TX 77002-1764
aty                    +   Richard A. Cochrane, Caldwell Cassady Curry PC, 2121 N. Pearl St., Ste. 1200, Dallas, TX 75201-2494
aty                    +   Theodore James Salwen, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036-6730
aty                    +   Vida Robinson, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
cr                     +   Elevated Solutions Group, LLC, c/o Walker & Patterson, P.C., P.O. Box 61301, Houston, TX 77208-1301
cr                     +   Erica L. Ash, c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701 UNITED STATES 78701-0137
cr                     +   Francine Wheeler, Cain & Skarnulis PLLC, Ryan E. Chapple, 303 Colorado Street, Suite 2850 Austin, TX 78701-0137
cr                     +   Free Speech Systems, LLC, Free Speech Systems, LLC, c/o Patrick Magill, 3019 Alvin Devane Blvd., Ste 300 Austin,, TX 78741-7417
cr                     +   Reeves Law, PLLC, 702 Rio Grande St., Suite 203, Austin, TX 78701-2720
cr                     +   Richard M. Coan, c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-0137
cr                     +   Security Bank of Texas, P.O. Box 90, Crawford, Tx 76638-0090
12339523               +   ADP Total Source Insurance, 10200 Sunset Drive, Miami, FL 33173-3033
12339524               +   ADP TotalSource Payroll, 10200 Sunset Drive, Miami, FL 33173-3033
12339522               +   Addshoppers, Inc, 222 S. Church Street , #410M, Charlotte, NC 28202-3213
12339521               +   Airco Mechanical, LTD, PO Box 1598, Round Rock, TX 78680-1598
12339525               +   Alex E. Jones, c/o Crowe & Dunlevy, PC, Attn: Vickie L. Driver, 2525 McKinnon Street, Ste 425, Dallas, TX 75201-1543
12339526               #   Alex E. Jones, c/o Jordan & Ortiz, PC, Attn: Shelby Jordan, 500 North Shoreline Blvd, Ste 900, Corpus Christi, TX 78401-0658
12339529               +   Amazon Marketplace, Amazon Payments, Inc., 410 Terry Ave N., Seattle, WA 98109-5210
12339533               +   American Media/Reality Zone, PO Box 4646, Thousand Oaks, CA 91359-1646
12339534               +   Andrews, Christopher, 210 N. Beyer Street, Marion, TX 78124-4014
12339536               +   Atomial, LLC, 1920 E. Riverside Drive, Suite A-120 #124, Austin, TX 78741-1350
12339538               +   Balcones Recycling Inc., PO Box 679912, Dallas, TX 75267-9916
12339539               +   Biodec, LLC, 901 S. Mopac Expressway,, Building 4, Ste 285, Austin, TX 78746-5776
12339540               +   Blott, Jacquelyn, 200 University Boulevard, Suite 225 #251, Round Rock TX 78665-1096
12339541               +   Brennan Gilmore, c/o Civil Rights Clinic, Attn Andrew Mendrala, 600 New Jersey Avenue, NW, Washington, DC 20001-2022
12339542               +   Campco, 4625 W. Jefferson Blvd, Los Angeles, CA 90016-4006
12339543               +   Carlee Soto-Parisi, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339544               +   Carlos Soto, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339545               +   Chamberlain Hrdlicka White et al, Attn Jarrod B. Martin, 1200 Smith Street, Ste 1400, Houston, TX 77002-4496
12339548               +   Christopher Sadowski, c/o Copycat Legal PLLC, 3111 N. University Drive Ste. 301, Coral Springs, FL 33065-5058
12339549                   City of Austin, c/o Austin Energy, 4815 Muller, Austin, TX 78723
12339550                   Cloudflare, Inc, Dept LA 24609, Pasadena, CA 91185-4609
12339551               +   Constant Contact, Inc., 1601 Trapelo Road, Watham, MA 02451-7357
12339552               +   CustomTattooNow.com, 16107 Kensington Dr #172, Sugar Land, TX 77479-4224
               Case 22-33553 Document 717 Filed in TXSB on 06/19/24 Page 3 of 11
District/off: 0541-4                                         User: ADIuser                                                         Page 2 of 10
Date Rcvd: Jun 17, 2024                                      Form ID: pdf012                                                    Total Noticed: 176
12339553           David Icke Books Limited, c/o Ickonic Enterprises Limited, St. Helen's House King Street, Derby DE1 3EE, United Kingdom
12339555         + De Lage Financial, Attn Litigation & Recovery, 111 Old Eagle School Road, Wayne, PA 19087-1453
12339554         + Deese, Stetson, 328 Greenland Blvd. #81, Death Valley, CA 92328-9600
12339556           DirectTV, PO Box 006, Carol Stream, IL 60197
12339557         + Donna Soto, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339562         + EPS, LLC, 17350 State Hwy 249, Ste 220, #4331, Houston, TX 77064-1132
12339564         + ERM Protect, 800 South Douglas Road, Suite 940N, Coral Gables, FL 33134-3125
12339560           Edgecast, Inc., Dept CH 18120, Palatine, IL 60055-0001
12339561         + Elevated Solutions Group, 28 Maplewood Drive, Cos Cob, CT 06807-2601
12630712         + Erica L. Ash, c/o Ryan Chapple, Cain & Skarnulis PLLC, 303 Colorado St., Suite 2850, Austin, Texas 78701-0137
12339563         + Erica Lafferty, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12402939         + Erica Lafferty, c/o Rosemarie Paine, 350 Orange Street, New Haven, CT 06511-6447
12339567         + FW Robert Broadcasting Co, 2730 Loumor Ave, Metairie, LA 70001-5425
12339566         + Francine Wheeler, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12404971         + Free Speech Systems. LLC, 3019 Alvin Devane, Suite 350, Austin, Texas 78741-7424
12339565         + Frost Insurance Agency, 401 Congress Avenue, 14th Floor, Austin ,TX 78701-3793
12339568         + Gabriela Tolentino, 5701 S Mopac Expy, Austin, TX 78749-1464
12339570           Gracenote, 29421 Network Place, Chicago, IL 60673-1294
12339572           Haivision Network Video, Deot CH 19848, Palatine, IL 60055-9848
12339573         + Ian Hockley, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339574         + Impact Fire Services, LLC, PO Box 735063, Dallas, TX 75373-5063
12339575           Independent Publishers Group, PO Box 2154, Bedford Park, IL 60499-2154
12339581         + JCE SEO, 6101 Broadway, San Antonio, TX 78209-4561
12339584         + JW JIB Productions, LLC, 2921 Carvelle Drive, Riviera Beach, FL 33404-1855
12339578         + Jacqueline Barden, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339579         + Jennifer Hensel, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339580         + Jeremy Richman, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12339582         + Jillian Soto-Marino, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339583         + Justin Lair, 1313 Lookout Ave, Klamath Falls, OR 97601-6533
12339585           KI4U.com, 212 Oil Patch Lane, Gonzales, TX 78629-8028
12339586         + Kaster Lynch Farrar & Ball, Attn Mark D. Bankston, 1117 Herkimer, Houston, TX 77008-6745
12339588         + Koskoff Koskoff & Bieder, Attn Alinor C. Sterling, 350 Fairfield Ave, Bridgeport, CT 06604-6002
12339591         + LIT Industrial, 1717 McKinney Ave #1900, Dallas, TX 75202-1253
12339589         + Leonard Pozner, c/o Avi Moshenberg, McDowell Hetherington, 1001 Fannin Street, Ste 2700, Houston, TX 77002-6774
12339590         + Lincoln-Remi Group, LLC, 1200 Benstein Rd., Commerce Twp., MI 48390-2200
12339593           Lumen/Level 3 Communications, PO Box 910182, Denver, CO 80291-0182
12339600         + MRJR Holdings, LLC, PO Box 27740, Las Vegas, NV 89126-7740
12339596           Magento, PO Box 204125, Dallas, TX 75320-4105
12339595         + Mark Barden, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339597         + Microsoft Bing Ads, c/o Microsoft Online, Inc., P.O. Box 847543, 1950 N Stemmons Fwy, Ste 5010, Dallas, TX 75207-3199
12339598         + Miller, Sean, PO Box 763, Wyalusing, PA 18853-0763
12339603         + Neil Heslin, c/o Avi Moshenberg, McDowell Hetherington, 1001 Fannin Street, Ste 2700, Houston, TX 77002-6774
12339605         + NetSuite Inc, Bank of America Lockbox Services, Chicago, IL 60693-0001
12339606         + New Relic, 188 Spear Street, Suite 1200, San Francisco, CA 94105-1752
12339607         + Newegg.com, 9997E. Rose Hills Road, Whittier, CA 90601-1701
12339604         + Nicole Hockley, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339608         + One Party America, LLC, 6700 Woodlands Parkway, Suite 230-309, The Woodlands, TX 77382-2575
12339609           Orkin, Inc., 5810 Trade Center Drive, Suite 300, Austin, TX 78744-1365
12339614         + PQPR Holdings Limited, LLC, c/o Stephen Lemmon, 1801 S. Mopac Expressway, Suite 320, Austin, TX 78746-9817
12339610         + Payarc, 411 West Putnam Avenue, Ste 340, Greenwich, CT 06830-6291
12339617         + Perfect Imprints.com, 709 Eglin Pkwy NE, Fort Walton Beach, FL 32547-2527
12339612         + Perkins, Wes, General Delivery, Lockhart, TX 78644-9999
12339618         + Pipe Hitters Union, LLC, PO Box 341194, Austin, TX 78734-0020
12339613         + Poulsen, Debra, 112 Eames St., Elkhorn, WI 53121-1228
12339620         + Power Reviews, Inc., 1 N. Dearborn Street, Chicago, IL 60602-4331
12339616         + Precision Oxygen, 13807 Thermal Dr, Austin, TX 78728-7735
12339621         + Precision Camera, 2438 W Anderson Ln, Austin, TX 78757-1149
12339622         + Private Jets, LLC, 1250 E. Hallandale Beach Blvd, Suite 505, Hallandale, FL 33009-4635
12339615         + Protection 1 Alarm, PO Box 219044, Kansas City, MO 64121-9044
12339623         + Public Storage, 2301 E. Ben White Blvd, Austin, TX 78741-7110
12339625         + RatsMedical.com, c/o Rapid Medical, 120 N Redwood Rd, North Salt Lake, UT 84054-2792
12339626         + Ready Alliance Group, Inc, PO Box 1709, Sandpoint, ID 83864-0901
12339627         + Reeves Law, PLLC, Attn Bradley Reeves, 702 Rio Grande St., Ste 203, Austin, TX 78701-2720
                    Case 22-33553 Document 717 Filed in TXSB on 06/19/24 Page 4 of 11
District/off: 0541-4                                                  User: ADIuser                                                              Page 3 of 10
Date Rcvd: Jun 17, 2024                                               Form ID: pdf012                                                         Total Noticed: 176
12339628                 Renaissance, PO Box 8036, Wisconsin Rapids, WI 54495-8036
12339629               + Restore America, PO Box 147, Grimsley, TN 38565-0147
12339630                 Richard Coan, Chapter 7 Trustee for Debtor Erica Laffe, c/o Eric Henry, 10 Middle Street, Bridgeport, CT 06604-4257
12339631               + Robert Parker, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339639               + SLNT, 30 N Gould St, Ste 20647, Sheridan, WY 82801-6317
12339632               + Scarlett Lewis, c/o Avi Moshenberg, McDowell Hetherington, 1001 Fannin Street, Ste 2700, Houston, TX 77002-6774
12339633                 Security Bank of Crawford, PO Box 90, Crawford, TX 76638-0090
12339634                 Simon & Schuster, PO Box 70660, Chicago, IL 60673-0660
12339635                 SintecMedia NYC, Inc. DBA Operative, PO Box 200663, Pittsburgh, PA 15251-2662
12339636               + Skousen, Joel, PO Box 565, Spring City, UT 84662-0565
12339637               + Skyhorse Publishing, 307 West 36th Street, 11th Floor, New York, NY 10018-6592
12339641               + Stamps.com, 1990 E Grand Ave., El Segundo, CA 90245-5013
12339642               + Stone Edge Technologies, Inc, 660 American Avenue, Suite 204, King of Prussia, PA 19406-4032
12339643               + Stratus Technologies, 5 Mill & Main Place, Suite 500, Maynard, MA 01754-2660
12339644                 Studio 2426, LLC, 1920 E. Riverside Drive, Suite A120, Austin, TX 78741-1350
12339645                 Synergy North America, Inc, 11001 W. 120th Avenue, Suite 400, Broomfield, CO 80021-3493
12339646                 TD Canada Trust, 421 7th Avenue SW, Calgary, AB T2P 4K9, Canada
12339649                 Texas Comptroller, PO Box 13003, Austin, TX 78711-3003
12339647                 Texas Disposal Systems, Inc, PO Box 674090, Dallas, TX 75267-4090
12339648               + Texas Gas Service, PO Box 219913, Kansas City, MO 64121-9913
12339650               + Textedly, 133 N. Citrus Ave., Suite 202, Los Angeles, CA 90036
12339651               + The Creative Group, c/o Robert Half, 2884 Sand Hill Road, Ste 200, Menlo Park, CA 94025-7072
12339594               + The Estate of Marcel Fontaine, c/o McDowell Hetherington LLP, Attn Avi Moshenberg, 100 Fannin, Ste 2700, Houston, TX 77002-1915
12339653                 The Hartford, PO Box 14219, Lexington, KY 40512-4219
12339654                 The Steam Team, Inc, 1904 W. Koeing Lane, Austin, TX 78756-1211
12339655               + Third Coast Graphics, Inc, 110 Del Monte Dr., Friendswood, TX 77546-4487
12339658               + Thomas, David, 79 Malone Hill Road, Elma, WA 98541-9206
12339656                 Travelers, PO Box 660317, Dallas, TX 75266-0317
12339657               + Travis County, PO Box 149328, Austin, TX 78714-9328
12339659               + U.S. Legal Support, PO Box 4772, Houston, TX 77210-4772
12339661               + Vazquez, Valdemar Rodriguez, 145 Quail Ridge Drive, Kyle TX 78640-9788
12339663               + Verizon Edgecast, 13031 West Jefferson Blvd, Bldg 900, Los Angeles, CA 90094-7002
12339664               + Veronique De La Rosa, c/o Avi Moshenberg, McDowell Hetherington, 1001 Fannin Street, Ste 2700, Houston, TX 77002-6774
12339665               + Vultr, 14 Cliffwood Avenue, Suite 300, Matawan, NJ 07747-3931
12339675               + WMQM-AM 1600, 21 Stephen Hill Road, Atoka, TN 38004-7183
12339676                 WWCR, 1300 WWCR Avenue, Nashville, TN 37218-3800
12339666              #+ Waste Connections Lone Star, Inc., PO Box 17608, Austin, TX 78760-7608
12339667               + Water Event-Pure Water Solutions, 1310 Missouri St, South Houston, TX 77587-4537
12339668                 Watson, Paul, 9 Riverdale Road, Ranmoor Sheffield, South Yorkshire S10 3FA, United Kingdom
12339669                 Westwood One, LLC, 3542 Momentum Place, Chicago, IL 60689-5335
12339670               + Wheeler, David, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339672               + William Aldenberg, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339671               + William Sherlach, c/o Ryan Chapple, Cain & Skarnulis, 303 Colorado Street, Ste 2850, Austin, TX 78701-0137
12339673               + Willow Grove Productions, 1810 Rockcliff Road, Austin, TX 78746-1215
12339674                 Wisconsin Dept. of Revenue, PO Box 3028, Milwaukee, WI 53201-3028
12339677               + Your Promotional Products, LLC, 133 North Friendswood Ste 186, Friendswood, TX 77546-3746
12339678               + Zendesk, Inc, 989 Market Street, San Francisco, CA 94103-1708
12339679               + Zoom US, 55 Almaden Blvd, 6th Floor, San Jose, CA 95113-1608
12339559               + eCommerce CDN, LLC, 221 E 63rd Street, Savannah, GA 31405-4226
12339599               + mongoDB Cloud, 1633 Broadway 39th Floor, New York, NY 10019-6757

TOTAL: 154

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
crcm                   + Email/Text: mbrimmage@akingump.com
                                                                                        Jun 17 2024 20:16:00      Official Committee Of Unsecured Creditors, c/o
                                                                                                                  Marty L. Brimmage, Jr., Akin Gump Strauss
                                                                                                                  Hauer & Feld LLP, 2300 N. Field Street, Suite
                                                                                                                  1800, Dallas, TX 75201-4675
cr                     + Email/Text: lemaster@slollp.com
                                                                                        Jun 17 2024 20:15:00      PQPR Holdings Limited, LLC, c/o Streusand
                                                                                                                  Landon Ozburn & Lemmon LLP, attn: Stephen
                   Case 22-33553 Document 717 Filed in TXSB on 06/19/24 Page 5 of 11
District/off: 0541-4                                                User: ADIuser                                                        Page 4 of 10
Date Rcvd: Jun 17, 2024                                             Form ID: pdf012                                                   Total Noticed: 176
                                                                                                            Lemmon, 1801 S. Mopac Expressway, Suite 320,
                                                                                                            Austin, TX 78746-9817
cr                    + Email/Text: BKECF@traviscountytx.gov
                                                                                   Jun 17 2024 20:16:00     Travis County, c/o Jason A. Starks, P.O. Box
                                                                                                            1748, Austin, TX 78767-1748
12339535                 Email/Text: g17768@att.com
                                                                                   Jun 17 2024 20:15:00     AT&T, PO Box 5001, Carol Stream, IL
                                                                                                            60197-5001
12339537              + Email/Text: dan@awio.com
                                                                                   Jun 17 2024 20:16:00     AWIO Web Services LLC, 6608 Truxton Ln,
                                                                                                            Raleigh, NC 27616-6694
12339527              + Email/Text: ally@ebn.phinsolutions.com
                                                                                   Jun 17 2024 20:15:00     Ally Auto, PO Box 9001948, Louisville, KY
                                                                                                            40290-1948
12339528                 Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                   Jun 17 2024 20:27:43     Ally Bank, c/o AIS Portfolio Services, LLC, 4515
                                                                                                            N. Santa Fe Ave. Dept. APS, Oklahoma City, OK
                                                                                                            73118-7901
12339530                 Email/Text: bankruptcynotices@amazon.com
                                                                                   Jun 17 2024 20:17:00     Amazon Web Services, 410 Terry Avenue North,
                                                                                                            Seattle, WA 98109-5210
12339531                 Email/PDF: bncnotices@becket-lee.com
                                                                                   Jun 17 2024 20:27:46     American Express, PO Box 650448, Dallas, TX
                                                                                                            75265-0448
12335804                 Email/PDF: bncnotices@becket-lee.com
                                                                                   Jun 17 2024 20:28:08     American Express National Bank, c/o Becket and
                                                                                                            Lee LLP, PO Box 3001, Malvern PA 19355-0701
12403767              + Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                   Jun 17 2024 20:15:00     Bank of America N.A., PO Box 31785, Tampa, FL
                                                                                                            33631-3785
12339587                 Email/Text: litigation.recoverybkmailbox@dllgroup.com
                                                                                   Jun 17 2024 20:15:00     Konica Minolta Premier Finance, PO Box 41602,
                                                                                                            Philadelphia, PA 19101-1602
12339569                 Email/Text: Mailbox-Bankruptcy@gettyimages.com
                                                                                   Jun 17 2024 20:16:00     Getty Images, Inc, PO Box 953604, St. Louis, MO
                                                                                                            63195-3604
12339576                 Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                   Jun 17 2024 20:16:00     Internal Revenue Service, Centralized Insolvency
                                                                                                            Operations, PO Box 7346, Philadelphia, PA
                                                                                                            19101-7346
12339577                 Email/Text: bankruptcy2@ironmountain.com
                                                                                   Jun 17 2024 20:17:00     Iron Mountain, Inc, PO Box 915004, Dallas, TX
                                                                                                            75391-5004
12339602              + Email/Text: ed@mvdb2b.com
                                                                                   Jun 17 2024 20:17:00     MVD Entertainment Group, 203 Windsor Rd,
                                                                                                            Pottstown, PA 19464-3405
12339601                 Email/Text: ed@mvdb2b.com
                                                                                   Jun 17 2024 20:17:00     Music Videos Distributors, 203 Windsor Rd,
                                                                                                            Pottstown, PA 19464-3405
12339638                 Email/Text: bankruptcy@dsservices.com
                                                                                   Jun 17 2024 20:17:00     Sparkletts & Sierra Springs, PO Box 660579,
                                                                                                            Dallas, TX 75266-0579
12339640                 Email/Text: dl-csgbankruptcy@charter.com
                                                                                   Jun 17 2024 20:18:00     Spectrum Enterprise, aka Time Warner Cable,
                                                                                                            1600 Dublin Road, Columbus, OH 43215-2098
12339660              + Email/Text: arbankruptcy@uline.com
                                                                                   Jun 17 2024 20:17:00     Uline Shipping Supply, 12575 Uline Drive,
                                                                                                            Pleasant Prarie, WI 53158-3686
12339662              + Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com
                                                                                 Jun 17 2024 20:15:00       Verizon, PO Box 660108, Dallas, TX 75266-0108
12339558              + Email/Text: jstauffe_bk@ebay.com
                                                                                 Jun 17 2024 20:18:00       eBay, 2025 Hamilton Avenue, San Jose, CA
                                                                                                            95125-5904

TOTAL: 22


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
aty                           Akin Gump Strauss Hauer & Feld LLP
cr                            Carlee Soto Parisi
                       Case 22-33553 Document 717 Filed in TXSB on 06/19/24 Page 6 of 11
District/off: 0541-4                                              User: ADIuser                                                         Page 5 of 10
Date Rcvd: Jun 17, 2024                                           Form ID: pdf012                                                    Total Noticed: 176
cr                               Carlos M Soto
intp                             David Ross Jones
cr                               David Wheeler
cr                               Donna Soto
cr                               Ian Hockley
cr                               Jacqueline Barden
cr                               Jennifer Hensel
cr                               Jillian Soto-Marino
cr                               Mark Barden
cr                               Nicole Hockley
cr                               Public Storage
cr                               Robert Parker
cr                               William Aldenberg
cr                               William Sherlach
cr                *+             Ally Bank, c/o AIS Portfolio Services, LLC, 4515 N Santa Fe Ave. Dept. APS, Oklahoma City, OK 73118-7901
cr                *              American Express National Bank, c/o Becket and Lee LLP, PO Box 3001, Malvern, PA 19355-0701
cr                *              Bank of America N.A., P.O. BOX 31785, Tampa, FL 33631-3785
12339532          *              American Express National Bank, c/o Becket and Lee LLP, PO Box 3001, Malvern, PA 19355-0701
12339546          *+             Chamberlain Hrdlicka White et al, Attn Jarrod B. Martin, 1200 Smith Street, Ste 1400, Houston, TX 77002-4496
12404972          *+             Free Speech Systems, LLC, 3019 Alvin Devane, Suite 350, Austin, Texas 78741-7424
12339652          *+             The Estate of Marcel Fontaine, c/o McDowell Hetherington LLP, Attn Avi Moshenberg, 100 Fannin, Ste 2700, Houston, TX
                                 77002-1915
cr                ##+            Leonard Pozner, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                                 77002-6774
cr                ##+            Marcel Fontaine, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin, Suite 2700, Houston, TX
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cr                ##+            Neil Heslin, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
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cr                ##+            Scarlett Lewis, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
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cr                ##+            Veronique De La Rosa, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston,
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12339547          ##+            Chelsea Green Publishing, 85 North Main Street Ste 120, White River Junction, VT 05001-7135
12339571          ##+            Greenair, Inc, 23569 Center Ridge Road, Westlake, OH 44145-3642
12339592          ##+            Logo It, LLC, 820 Tivy Street, Kerrville, TX 78028-3654
12339611          ##+            Paymentus, 18390 NE 68th St, Redmond, WA 98052-5057
12339619          ##+            Post Hill Press, LLC, 8115 Isabella Lane, Ste. 4, Brentwood, TN 37027-9110
12339624          ##+            Randazza Legal Group, PLLC, 2764 Lake Sahara Drive, Suite 109, Las Vegas, NV 89117-3400

TOTAL: 16 Undeliverable, 7 Duplicate, 11 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 19, 2024                                        Signature:          /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 14, 2024 at the address(es) listed below:
Name                             Email Address
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                      Case 22-33553 Document 717 Filed in TXSB on 06/19/24 Page 7 of 11
District/off: 0541-4                                          User: ADIuser                                                         Page 6 of 10
Date Rcvd: Jun 17, 2024                                       Form ID: pdf012                                                    Total Noticed: 176
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                      Case 22-33553 Document 717 Filed in TXSB on 06/19/24 Page 8 of 11
District/off: 0541-4                                          User: ADIuser                                                      Page 7 of 10
Date Rcvd: Jun 17, 2024                                       Form ID: pdf012                                                 Total Noticed: 176
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                     Case 22-33553 Document 717 Filed in TXSB on 06/19/24 Page 9 of 11
District/off: 0541-4                                         User: ADIuser                                                       Page 8 of 10
Date Rcvd: Jun 17, 2024                                      Form ID: pdf012                                                  Total Noticed: 176
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                  Case 22-33553 Document 717 Filed in TXSB on 06/19/24 Page 10 of 11
District/off: 0541-4                                          User: ADIuser                                                              Page 9 of 10
Date Rcvd: Jun 17, 2024                                       Form ID: pdf012                                                         Total Noticed: 176
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District/off: 0541-4                                          User: ADIuser                                                            Page 10 of 10
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